     Case 2:20-cv-04710-RSWL-RAO Document 34 Filed 11/29/21 Page 1 of 2 Page ID #:382

                                                                            JS-6
 1

 2

 3

 4

 5

 6

 7

 8

 9                           UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11

12       ANTHONY BOUYER, an                Case No. 2:20-cv-04710-RSWL-RAOx
13       individual,
14                                             ORDER DISMISSAL WITH
              Plaintiff,                       PREJUDICE
15
         v.
16

17       ROCKY’S RACQUET WORLD,
         a Limited Partnership; and DOES
18       1-10, inclusive,
19
              Defendants.
20

21

22

23

24

25

26

27
                                           1
28
     Case 2:20-cv-04710-RSWL-RAO Document 34 Filed 11/29/21 Page 2 of 2 Page ID #:383


 1           After consideration of the Joint Stipulation for Dismissal of the entire action

 2     with Prejudice filed by Plaintiff Anthony Bouyer (“Plaintiff”) and Rocky’s Racquet
 3
       World (“Defendant”), the Court hereby enters a dismissal with prejudice of
 4

 5     Plaintiff’s Complaint in the above-entitled action, in its entirety. Each party shall

 6     bear his or its own costs and attorneys’ fees.
 7

 8           IT IS SO ORDERED.
 9
       DATED: November 29, 2021
10
                                                        /s/ RONALD S.W. LEW
11
                                                    RONALD S.W. LEW
12                                            UNITED STATES DISTRICT JUDGE
13

14

15

16

17

18

19
20

21

22

23

24

25

26

27
                                                2
28
